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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                JUDGE R. BROOKE JACKSON

Civil Action:         21-cr-00229-RBJ                     Date: April 11, 2022
Courtroom Deputy:     Julie Dynes                         Court Reporter: Terri Lindblom
Interpreter:          N/A                                 Probation: N/A

                Parties                                              Counsel

 UNITED STATES OF AMERICA                                         Sara Clingan
                                                                  Megan Lewis
                                                                 Anthony Mariano
                                                                  William Vigen
                          Plaintiff

 v.

 1. DAVITA INC                                                      John Dodds
                                                                    John Walsh
 2. KENT THIRY                                                    Juanita Brooks
                                                                Thomas Melsheimer
                                                               J. Clayton Everett Jr.
                          Defendants


                                      COURTROOM MINUTES


JURY TRIAL DAY SIX

Court in Session: 8:32 a.m.

Defendant Kent Thiry present on bond. Kathleen Waters present as representative of Defendant
DaVita, Inc.

Jury not present.

The Court proceeds to a Daubert Hearing re: [213] United States’ Motion for a Daubert Hearing
and to Exclude Certain Opinions.

Dr. Pierre-Yves Cremieux called and sworn.

8:33 a.m.      Cross examination of Dr. Cremieux by Mr. Vigen.
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Argument given on [213] United States’ Motion to Exclude Certain Opinions by Mr. Vigen and
Mr. Everett.

ORDERED: [213] United States’ Motion to Exclude Certain Opinions is TAKEN UNDER
         ADVISEMENT.

9:26 a.m.       Court in recess.
9:37 a.m.       Court in session – jury escorted in.

Government’s witness, Jeffrey Lombardo, called and sworn.

9:40 a.m.       Direct examination of Mr. Lombardo by Mr. Mariano.
                Exhibit 228 is admitted.

9:54 a.m.       Cross examination of Mr. Lombardo by Mr. Walsh.
                Exhibit B495, B496, B497 and B498 are admitted.

10:39 a.m.      Redirect examination of Mr. Lombardo by Mr. Mariano.

10:41 a.m.      Additional examination of Mr. Lombardo by Mr. Walsh.
                Exhibit B539 is admitted.

Juror questions reviewed at the bench.

10:43 a.m.      Juror questions asked of Mr. Lombardo by the Court.

Jury excused.

Argument given on Daubert issue by Mr. Melsheimer.

10:54 a.m.      Court in recess.
11:05 a.m.      Court in session – jury escorted in.

Government’s witness, Special Agent Matthew Hamel, called and sworn.

11:07 a.m.      Direct examination of Special Agent Hamel by Mr. Vigen.
                Exhibits 113, 114, 115, 116, 117, 118, 119, 120, 121, 123, 124, 125, 126, 127,
                128, 129, 130, 131, 132, 133, 134, 136, 146, 256, 258, 286, 293, 294, 295, 296,
                297, 298, 299, 300, 301, 302, 303, 304, 305, 306, 307, 308, 309, 310, 311, 324,
                325, 326, 327, 328, 329, 330 and 338 are admitted.

12:00 p.m.      Court in recess – jury escorted out.
12:59 p.m.      Court in session.
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Jury not present.

Discussion held on remaining witnesses and argument given on pending motion regarding the
testimony of James Thurman.

ORDERED: Mr. Thurman is excluded from testifying in the Government’s case-in-chief.

1:05 p.m.      Continued direct examination of Special Agent Hamel by Mr. Vigen.
               Exhibits 20, 21, 85, 103, 219, 223, 227, 238, 247, 248, 251, 452, 528, 621, 624
               and 626 are admitted.

1:40 p.m.      Cross examination of Special Agent Hamel by Mr. Walsh.
               Exhibits 341, 536 and A459 are admitted.

2:19 p.m.      Cross examination of Special Agent Hamel by Ms. Brooks.
               Exhibits A015, A018 and A802 are admitted.

2:51 p.m.      Court in recess – jury escorted out.
3:09 p.m.      Court in session – jury escorted in.

3:11 p.m.      Continued cross examination of Special Agent Hamel by Ms. Brooks.

4:09 p.m.      Redirect examination of Special Agent Hamel by Mr. Vigen.

Juror questions reviewed at the bench.

4:26 p.m.      Juror questions asked of Special Agent Hamel by the Court.

Jury excused, to return tomorrow at 9:00 a.m.

Discussion held on trial timing.

Defendant Kent Thiry advised on his rights as to testifying/not testifying in his own defense.

The Court outlines its thoughts as to jury instructions.

ORDERED: [213] United States’ Motion to Exclude Certain Opinions is GRANTED in
         part and DENIED in part, as stated on the record.

The Court outlines elements in its draft instructions.

Court in Recess: 5:15 p.m.             Trial continued.             Total time in Court: 07:04
